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		OSCN Found Document:MCBEE v. FRAIRE

					

				
  



				
					
					
						
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				MCBEE v. FRAIRE2022 OK 22Case Number: 119190; Comp w/119181; 119337Decided: 03/07/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 22, __ P.3d __

				


VICKIE MCBEE, an individual, Plaintiff/Appellant,v.EFREN FRAIRE, an individual; AUGUSTINE FRAIRE, an individual; FRAIRE BRICKLAYERS, INC., an Oklahoma corporation; and JOHN DOES 1-5, true names unknown, Defendants/Appellees.
ORDER OF SUMMARY DISPOSITION
¶1 Rule 1.201 of the Oklahoma Supreme Court Rules provides that "[i]n any case in which it appears that a prior controlling appellate decision is dispositive of the appeal, the court may summarily affirm or reverse, citing in its order of summary disposition this rule and the controlling decision." Okla. Sup. Ct. Rule 1.201.
¶2 After reviewing the record in this case, THE COURT FINDS that our decision in McBee v. Shanahan Home Design, et al., 2021 OK 60, 499 P.3d 1, involves the same primary legal questions as those in the above-styled appeal; and therefore, our holding in Shanahan disposes of the issues herein.1
¶3 IT IS THEREFORE ORDERED that the trial court's order sustaining defendants' motion to dismiss for untimely service of process is reversed and the cause is remanded for further proceedings.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 7th day of March, 2022.
/S/CHIEF JUSTICE
¶4 Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Gurich, Rowe, and Kuehn, JJ., concur.
¶5 Combs, J., not participating.
FOOTNOTES
1 The issue presented in McBee v. Shanahan Homes, et al. was whether the Court's joint emergency orders in response to the Covid-19 State of Disaster (SCAD Orders 2020-24, 2020-29, and 2020-36) suspended the 180-day time limit for effecting service of process set forth in 12 O.S. Supp. 2017, § 2004(I).




	Citationizer© Summary of Documents Citing This Document
	
	
		
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
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	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK 60, 499 P.3d 1, MCBEE v. SHANAHAN HOME DESIGNDiscussed
Title 12. Civil Procedure
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&nbsp;12 O.S. 2004, ProcessDiscussed


	
	








				
					
					
				

		
		




	
		
			
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